      Case 2:13-cr-02092-LRS           ECF No. 2035         filed 02/11/16     PageID.8784 Page 1 of 2
PROB 12C                                                                            Report Date: February 11, 2016
(7/93)
                                                                                                     FILED IN THE
                                       United States District Court                              U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF WASHINGTON


                                                       for the
                                                                                            Feb 11, 2016
                                                                                                SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender: Laura Louise Rodriguez                   Case Number: 0980 2:13CR02092-LRS-035
 Address of Offender:                         Granger, Washington 98932
 Name of Sentencing Judicial Officer: The Honorable Lonny R. Suko, Senior U.S. District Court Judge
 Date of Original Sentence: March 19, 2014
 Original Offense:        Theft From Gaming Establishment Less Than $1,000, 18 U.S.C. § 1167(a)
 Original Sentence:       Probation 36 months               Type of Supervision: Probation
 Asst. U.S. Attorney:     Thomas J. Hanlon                  Date Supervision Commenced: March 19, 2014
 Defense Attorney:        Alex B. Hernandez, III            Date Supervision Expires: March 18, 2017


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Special Condition # 17: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: Ms. Rodriguez submitted urinalysis (UA) tests on December 4, 2015,
                        January 7, and 11, 2016, which tested positive for Morphine, a controlled substance not
                        prescribed to her.

                        On December 4, 2015, Ms. Rodriguez reported to the U.S. Probation Office and admitted
                        to consuming Morphine, a controlled substance not prescribed to her.


           2            Special Condition # 17: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: On January 19, 2016, and on February 9, 2016, Ms. Rodriguez failed
                        to report to Merit for random UA testing.
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Prob12C
Re: Rodriguez, Laura Louise
February 11, 2016
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The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the defendant to
answer the allegations contained in this petition.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     02/11/2016
                                                                            s/Arturo Santana
                                                                            Arturo Santana
                                                                            U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ x]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                                            Signature of Judicial Officer

                                                                            2/11/2016
                                                                            Date
